8:10-cr-00158-LSC-SMB       Doc # 163    Filed: 10/21/10   Page 1 of 1 - Page ID # 395




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                    Plaintiff,             )
                                           )           8:10-cr-00158-LSC-FG3
      vs.                                  )
                                           )                   ORDER
RICHARD J. DASHER,                         )
                                           )
                    Defendant.             )


      This matter is before the court on the defendant's second motion to extend the

pretrial motion deadline (Filing 161). The court finds that the defendant has not shown

good cause for another continuance.

      IT IS ORDERED that the defendant's motion (Filing 161) is denied.


      DATED October 21, 2010.

                                        BY THE COURT:

                                        s/ F.A. Gossett, III
                                        United States Magistrate Judge
